         Case 1:18-cv-02620-ADC Document 30 Filed 03/12/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  BALTIMORE DIVISION


KERI EVERHART,                                    Case No: 18-cv-02620-ADC

               Plaintiff,

v.                                                STIPULATION FOR VOLUNTARY
CHASE BANK USA, N.A.,                             DISMISSAL PURSUANT TO
                                                  FED.R.CIV.P. 41(a)(1)(A)(ii)
               Defendants.



       Plaintiff, Keri Everhart (“Plaintiff”), and Defendant Chase Bank USA, N.A.

(“Defendant”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the

dismissal of all of Plaintiff’s claims in this action against Defendant WITH PREJUDICE, with

each party to bear their own costs and fees.

JOINTLY SUBMITTED BY:

/s/ E. Hutchison Robbinson Jr.                    /s/ Anitra Ash-Shakoor
(with permission)                                 Anitra Ash-Shakoor
E. Hutchinson Robbins, Jr.                        Capital Justice
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COUNSEL FOR DEFENDANT

/s/ David D. Switzler (with permission)           /s/ Carlos Alsina-Batista
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         Case 1:18-cv-02620-ADC Document 30 Filed 03/12/19 Page 2 of 3




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  BALTIMORE DIVISION


KERI EVERHART,                                      Case No: 1:18-cv-02620-GLR

               Plaintiff,
                                                    [PROPOSED] ORDER OF DISMISSAL
v.

CHASE BANK USA, N.A.,

               Defendants.



                            [PROPOSED] ORDER OF DISMISSAL

       Plaintiff, Keri Everhart (“Plaintiff”), and Defendant, Chase Bank USA, N.A.,

(“Defendant”), having filed a Joint Notice of Settlement and the Court being otherwise

sufficiently advised,



       IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant are DISMISSED

with prejudice. Each party shall bear their own costs and attorney’s fees.



       SO ORDERRED.




       DATED:                                         __________________________
                                                      A. David Coperthite
                                                      United States Magistrate Judge



                                                2
         Case 1:18-cv-02620-ADC Document 30 Filed 03/12/19 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of March 2019, I electronically filed the foregoing

Stipulation of Dismissal using the CM/ECF System, which will notify all registered parties.


 /s/ E. Hutchison Robbinson Jr. (with permission)
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